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8
9                              UNITED STATES DISTRICT COURT
10                      FOR THE CENTRAL DISTRICT OF CALIFORNIA
11                                     WESTERN DIVISION
12
      Matt Salnick,                                   Case No. 2:17-CV-0359-CBM(JC)
13
                  Plaintiff,                          NOTICE of UNITED STATES’
14                                                    COMMENT REGARDING PROPOSED
                  v.
15                                                    CONSENT DECREE
      Ameron Pole Products, LLC,
16
                  Defendant.
17
18
19
20          On December 12, 2018, the Citizen Suit Coordinator for the Department of Justice

21    received a copy of the proposed settlement agreement in the above-referenced case for

22    review pursuant to the Clean Water Act, 33 U.S.C. § 1365(c)(3). This provision

23    provides, in relevant part:

24
25          No consent judgment shall be entered in an action in which the United States

26          is not a party prior to 45 days following the receipt of a copy of the proposed

27          consent judgment by the Attorney General and the Administrator.

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1     See also 40 C.F.R. § 135.5 (service on Citizen Suit Coordinator in the U.S. Department
2     of Justice). A consent judgment that does not undergo this federal review process is at
3     risk of being void. The United States 45 day review period was extended pursuant to
4     motion.
5           Through the course of review the United States notified the parties of concerns
6     two provisions contained in the settlement agreement. We have engaged the parties in a
7     discussion regarding the United States’ concerns, and the parties have agreed to amend
8     the problematic provisions. The parties have not yet submitted an amended proposed
9     consent decree for the United States or the Court to review.
10
11          Respectfully submitted,
12
13          March 4, 2019.
14                                             United States Department of Justice
15
16                                                /s/ Matthew R. Oakes
                                               MATTHEW R. OAKES
17                                             Attorney Advisor
                                               United States Department of Justice
18                                             Environment and Natural Resources Division
                                               Law and Policy Section
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1
2                                      PROOF OF SERVICE
3
4     On this 4th day of March 2019, this NOTICE of UNITED STATES’ COMMENT
      REGARDING PROPOSED CONSENT DECREE was served on counsel of record by
5
      electronic filing.
6
7     I declare under penalty of perjury that the foregoing is true and correct.
8
9     Executed on the 4th day of March 2019.
10
11                                            /s/ Matthew R. Oakes           .
12                                            Matthew R. Oakes, Attorney
                                              United States Department of Justice
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14                                            Division
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